                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CR-183-MOC-DCK

 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )       ORDER
                                                      )
 MARCUS ISAIAH CURRY,                                 )
                                                      )
                Defendant.                            )
                                                      )

         THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Withdraw

Motion To Suppress” (Document No. 32) filed October 19, 2020. The motion sets out an

agreement between the parties. Having carefully considered the motion, the record, and noting

also the consent of Defendant, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Withdraw Motion To

Suppress” (Document No. 32) is GRANTED.

         IT IS FURTHER ORDERED that the “Motion To Suppress Defendant’s Statement

Obtained By Law Enforcement In Violation Of His Rights Under The Fifth And Sixth

Amendments To The United States Constitution” (Document No. 31) is hereby WITHDRAWN.



                                            Signed: October 19, 2020




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